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      United States District Court, Eastern District of Washington
                              Magistrate Judge John T. Rodgers
                                          Spokane

 USA v. KURT ALLEN HASKIN                                   Case No. 2:19-CR-0046-SMJ-1

 Arraignment/Initial Appearance on Indictment/                                           03/06/2019
 Detention Hearing:

 ☒ Melissa Orosco, Courtroom Deputy                     ☒ Ann Wick, US Atty
 ☒ Stephanie Cherney, US Probation / Pretrial           ☒ Lorinda Youngcourt, Defense Atty
   Services Officer
 ☒ Defendant present ☒ in custody USM                   ☒ Interpreter - NOT REQUIRED


 ☒    USA Motion for Detention                          ☒   Rights given
 ☐    USA not seeking detention                         ☒   Acknowledgment of Rights filed
 ☒    Financial Affidavit (CJA 23) filed                ☒   Defendant received copy of Indictment
 ☒    The Court will appoint the Federal Defenders      ☒   Defendant waived reading of Indictment
 ☐    Based upon conflict with Federal Defenders, the   ☐   Indictment read in open court
      Court will appoint a CJA Panel Attorney
 ☐    PRE-Trial Services Report ordered                 ☐   POST Pre-Trial Services Report ordered
                                                        ☒   AO199c Advice of Penalties & Sanctions filed


                                               REMARKS
INITIAL APPEARANCE/ARRAIGNMENT:

        Defendant appeared with counsel and was advised of his rights and the allegations contained in
the Indictment.
        The Defendant acknowledged to the Court that his true and correct name is: KURT ALLEN
HASKIN.
        “Not guilty” plea entered.
        Based on information contained in the Financial Affidavit, the Court appointed the Federal
Defenders to represent Defendant in this matter.

        Government has filed a motion for detention.

        Defendant requested a detention hearing be held this date. Government in agreement.

DETENTION HEARING:

         The Court has reviewed the Pretrial Services Report (ECF No. 7).
         USA proffered the Pretrial Services Report, made factual proffers and does not concur with
Pretrial Services’ recommendation of release of the Defendant.



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        USA argued why the Court should detain the Defendant and why there are no conditions of
release which will reasonably assure Defendant’s appearance as required and/or the safety of any other
person and the community.

        Defense presented argument for release.

The Court ordered:
        1. USA’s Motion for Detention is denied.
        2. Conditions of release imposed upon Defendant which were read to him in Court. Order
           forthcoming.

Defendant to be released under the following conditions:

    •   Commit no new violations of state, local or federal law, to include no marijuana
    •   Advise attorney and Pretrial Services, in writing, prior to any change in address or phone
        number
    •   Appear for all future hearings
    •   Surrender passport prior to release
    •   Sign 199c
    •   No possession of firearm, destructive device or other dangerous weapon
    •   Report to Pretrial Services in whatever manner/frequency they direct
    •   Call attorney at least one time per week
    •   No use or possession of narcotic drugs or other controlled substances unless have valid
        prescription, to include no marijuana
    •   Provide supervising Pretrial Services Officer with a list of current prescriptions
    •   Remain in Eastern District of Washington pending adjudication of case, unless receive
        advance permission from Pretrial Services to leave district
    •   Avoid all contact, direct or indirect, with any witness or victim in case
    •   May not be in the presence of minor-aged children without a responsible adult who is aware
        of charges being present
    •   No access to Internet, except for business purposes
    •   Covenant Eyes monitoring
    •   Daily curfew from 7 pm to 6:30 am
    •   Electronic home monitoring
    •   May not frequent areas where minor-aged children are present, including arcades, theaters,
        parks, etc.
    •   Not within 500 feet of a school or park
    •   No excessive use of alcohol
    •   No access/possession of pornography of any kind




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